                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

                                   NO. 5:18-CR-00452-FL-1


 UNITED STATES OF AMERICA                     )
                                              )
          v.                                  )                       ORDER
                                              )
 LEONID ISAAKOVICH TEYF                       )


       Upon motion of Defendant, for good cause shown, it is hereby ORDERED that the

Defendant’s Motion at DE 568 and the Government’s Supplemental 404(b) Notice at DE 558 in

the above-captioned matter be sealed until such time as the Court orders them unsealed.

       It is FURTHER ORDERED that the Clerk of Court make available to the parties filed

copies of the same.

       SO ORDERED.

                20thday of April, 2020.
       This the ___




                                                    Louise W. Flanagan
                                                    United States District Judge




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